Case 3:13-cr-00097   Document 447   Filed 03/12/14   Page 1 of 8 PageID #: 1083
Case 3:13-cr-00097   Document 447   Filed 03/12/14   Page 2 of 8 PageID #: 1084
Case 3:13-cr-00097   Document 447   Filed 03/12/14   Page 3 of 8 PageID #: 1085
Case 3:13-cr-00097   Document 447   Filed 03/12/14   Page 4 of 8 PageID #: 1086
Case 3:13-cr-00097   Document 447   Filed 03/12/14   Page 5 of 8 PageID #: 1087
Case 3:13-cr-00097   Document 447   Filed 03/12/14   Page 6 of 8 PageID #: 1088
Case 3:13-cr-00097   Document 447   Filed 03/12/14   Page 7 of 8 PageID #: 1089
Case 3:13-cr-00097   Document 447   Filed 03/12/14   Page 8 of 8 PageID #: 1090
